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 1         Plaintiff JASON CASANI complains and alleges as follows:
 2                               NATURE OF THE ACTION
 3         1.     This is an action seeking relief against Mr. Casani’s former employers,
 4   TEKsystems, Inc. (“TEKsystems”) and Allegis Group, Inc. (“Allegis”) (collectively
 5   “Defendants”), for breach of the terms of various incentive investment award
 6   agreements (“Award Agreements”) executed by and between Mr. Casani and
 7   TEKsystems, pursuant to the terms of the Allegis Group Incentive Investment Plan
 8   (the “IIP”) (a copy of the IIP is attached hereto as Exhibit A).
 9                                          PARTIES
10         2.     Mr. Casani is, and at all times relevant was, a citizen of California
11   residing at 2335 Melville Drive, San Marino, California, 91108. Mr. Casani was
12   employed by TEKsystems (formerly Aerotek Data Services Group) from
13   approximately May 1993 until his employment with TEKsystems terminated on
14   September 19, 2008.
15         3.     TEKsystems and Allegis are corporations organized and existing under
16   the laws of the state of Maryland, with their principal places of business located in
17   Maryland. TEKsystems is a wholly-owned subsidiary of Allegis Group, Inc. Allegis
18   was formerly known as Affiliated Services, Inc., which was formerly known as
19   Aerotek, Inc.
20         4.     At all times relevant to this litigation, TEKsystems (under the name
21   Maryland TEKsystems, Inc.) and Allegis are and were authorized to do business in
22   California. Defendants have several California locations, including an office located
23   at 600 Wilshire Boulevard, Suite 1650, Los Angeles, California, 90017.
24                              JURISDICTION AND VENUE
25         5.     This Court has original jurisdiction over this action pursuant to the
26   diversity of citizenship provisions contained in 28 U.S.C. § 1332 because (i) the
27   parties are citizens of different states, and (ii) the amount in controversy exceeds
28   $75,000.00, exclusive of interest and costs.
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 1          6.      Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391, because
 2   Defendants are subject to personal jurisdiction in this district at the time the action is
 3   commenced, and there is no district in which the action may otherwise be brought.
 4   Defendants have regularly transacted business and/or caused tortious injury to
 5   Plaintiff by acts within this judicial district.
 6                 MR. CASANI’S EMPLOYMENT WITH TEKSYSTEMS
 7          7.      Upon information and belief, TEKsystems is the nation’s largest IT
 8   staffing firm, with over $2.5 billion in revenues for 2007 and over 90 offices across
 9   the United States, Canada, and Europe.
10          8.      Upon information and belief, TEKsystems is owned by Allegis, a $6
11   billion staffing network that serves more than 8,000 customers (90% of Fortune 100
12   companies) and employs over 90,000 “contract employees” through more than 260
13   offices worldwide.
14          9.      Mr. Casani began working at TEKsystems (at that point, Aerotek Data
15   Services Group) in May 1993, as a Technical Recruiter in its Los Angeles, California
16   office.     Throughout his entire tenure with TEKsystems, Mr. Casani worked in
17   California.
18          10.     In June 1994, Mr. Casani was promoted to Account Manager and
19   transferred to TEKsystems’ San Diego, California office.
20          11.     In June 1996, Mr. Casani was promoted to Director of Business
21   Operations, responsible for managing the San Diego, California office.
22          12.     In May 2000, Mr. Casani was transferred to the Director of Business
23   Operations position in TEKsystems’ Newport Beach, California office.
24          13.     In May 2001, Mr. Casani was transferred to the Director of Business
25   Operations position in TEKsystems’ Los Angeles, California office.
26          14.     In September 2007, Mr. Casani was transferred to a Contracts Manager
27   position in TEKsystems’ Los Angeles, California office.
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 1         15.   During his entire employment at TEKsystems, Mr. Casani’s client
 2   accounts were located in California.
 3         16.   After his transfer to Contracts Manager, which in all respects constituted
 4   a demotion, Mr. Casani discussed his future at TEKsystems with Regional Vice-
 5   President Chris Russell, and Mr. Russell informed him that there were no
 6   opportunities for Mr. Casani’s promotion at TEKsystems. With the message clearly
 7   sent that there was no longer a place for him with TEKsystems, Mr. Casani separated
 8   from TEKsystems on September 19, 2008. He explained to Mr. Russell that he
 9   wanted to maintain an amicable relationship with TEKsystems after his departure.
10         17.   Upon his separation from TEKsystems, Mr. Casani returned all company
11   property, including company information on his home computer.
12         18.   After his departure, Mr. Casani, Allegis Board Member Michael
13   Salandra, and TEKsystems’ General Counsel Francis Buckley engaged in substantive
14   and lengthy negotiations regarding a proposed severance arrangement.            These
15   negotiations stalled on October 21, 2008.
16                       THE INCENTIVE INVESTMENT PLAN
17         19.   On January 14, 1993, Allegis implemented the IIP “to provide a method
18   whereby employees of Allegis Group, Inc. and its subsidiaries may acquire an interest
19   in the economic progress of the Companies, an incentive to promote the best interests
20   of the Companies, and, in particular, an incentive to promote the long term economic
21   growth of the Companies.”
22         20.   Under the terms of the IIP, eligible employees are granted “incentive
23   investment units” (“Units”), which the IIP describes as “an amount equal to the sum
24   of (i) the Fair Market Value of one share of common stock of Allegis Group, plus (ii)
25   the excess, if any, of (a) the aggregate Cash Dividends paid by Allegis Group with
26   respect to one issued and outstanding share of common stock of Allegis Group, over
27   (b) the aggregate cash distribution paid by the Companies with respect to one unit.”
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 1         21.    The Units described in the IIP are essentially phantom stock, meaning
 2   that employees do not actually hold equity in Allegis (or its subsidiary, TEKsystems),
 3   but rather some other intangible item with a value equivalent to a common share of
 4   Allegis stock.
 5         22.    Allegis awards the Units to employees through the IIP’s Award
 6   Agreements, which state that “the award is subject to the applicable provisions of the
 7   Plan…such provisions are incorporated herein by reference and made a part thereof.”
 8   These Award Agreements are signed by the Defendants and the particular employee.
 9         23.    The IIP Award Agreements award the employees a specified number of
10   Units, and set forth a schedule for when separate percentages of the Units will vest.
11   The Award Agreements state that “you shall be entitled to receive payment for vested
12   Units upon your Separation from Service (as defined in the Plan) with the Company.”
13         24.    Under Section 4 of the 2007 Award Agreement (a copy of the 2007
14   Award Agreement is attached hereto as Exhibit B), for federal tax purposes, the
15   agreement states that “you will recognize ordinary income, treated as compensation
16   for services and subject to federal and state income tax withholding, at the time you
17   receive, or have the right to receive, payment for Units which have vested.” The
18   2007 Award Agreement also states that “[F]or FICA purposes, however, the value of
19   the Units at the time of the award are regarded as wages when the Units vest, and you
20   will be subject to applicable FICA withholding at each time Units vest.”
21         25.    Under the IIP, Units vest at staggered intervals. Employees receive IIP
22   statements that specify the employee’s number of vested and non-vested Units.
23         26.    With respect to dividend payouts, the IIP states that TEKsystems “shall
24   make cash distributions with respect to each Unit awarded” to eligible employees “in
25   an amount per Unit equal to the Ordinary Dividend per share declared by the [Allegis
26   Group] Board.”
27         27.    According to the IIP, these cash distributions are paid out in June and
28   December of each year.
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 1         28.    These payments and disbursements pursuant to the vested IIP Units are
 2   non-discretionary and are awarded and calculated pursuant to specific criteria.
 3         29.    The IIP also states that upon termination of employment, and assuming
 4   certain restrictive covenants are complied with, eligible employees are to receive the
 5   principle balance of the value of Units in their individual Plan accounts, with “(a) five
 6   percent (5%) of the amount credited to the Employee’s Account [to] be paid to the
 7   Employee at the end of each of the ten consecutive calendar quarters immediately
 8   following” the employee’s separation from employment, and “(b) fifty percent (50%)
 9   of the amount credited to the Employee’s Account, plus all accrued interest, [to] be
10   paid to the Employee at the end of the thirty month period following” the employee’s
11   separation from employment.
12         30.    The IIP agreement contains restrictive covenants similar to those in Mr.
13   Casani’s employment agreement with TEKsystems:
14                9.    EARNING OF UNITS; RIGHT TO PAYMENT FOR
15                      ACCOUNT
16                In order to earn the Units allocated to an Employee pursuant to the Plan,
                  the Employee shall not, during the thirty (30) month period following
17                the date of his or her Separation from Service, either directly on his or
                  her own behalf, or indirectly through any entity in, or on behalf of or
18                with respect to which, the Employee is an officer, director, trustee,
                  shareholder, creditor, employee, partner or consultant:
19
                  (1) Engage in the business of recruiting, employing and providing the
20                services of scientific, telecommunications, engineering, technical,
                  information technology, information system, industrial, office support,
21                financial support, accounting energy, aviation, environmental and/or
                  other personnel on a temporary or permanent basis, providing
22                information systems, information technology and telecommunications
                  services, or any other lines of business that the Companies engage in,
23                enter or prepare to enter during the Employee’s employment with the
                  Companies (collectively, the “Companies Business”), in which the
24                Employee performed work or obtained knowledge and information
                  during the two (2) year period preceding his or her Separation from
25                Service, within a radius of two hundred fifty (250) miles of the office in
                  which the Employee last worked or any other office in which the
26                Employee worked during the two (2) years preceding his or Separation
                  from Service, or as much thereof as a Court of competent jurisdiction
27                deems reasonable;…
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 1                     MR. CASANI’S PARTICIPATION IN THE IIP
 2          31.    As a management-level employee, Mr. Casani was eligible to participate
 3   in the IIP.
 4          32.    Since November 12, 1996, Allegis awarded Mr. Casani IIP Units, per the
 5   IIP’s Award Agreements, on an annual basis.
 6          33.    Mr. Casani’s most recent grant of 2,000 Units occurred on December 31,
 7   2007, pursuant to the fully executed 2007 Award Agreement. He was also awarded
 8   438 Units pursuant to a 2007 Performance Award, dated March 21, 2008 (attached
 9   hereto as Exhibit C).
10          34.    Based on Mr. Casani’s participation in the IIP and the Unit awards that
11   Allegis granted him, Allegis regularly provided him with cash dividend
12   disbursements throughout his employment.         The most recent disbursement of
13   $36,130.50 ($.75 per Unit) was made in June 2008.
14          35.    As of Mr. Casani’s termination date on September 19, 2008, he accrued
15   a total of 48,174 Units. As reflected by his March 31, 2008 Allegis Group IIP
16   Statement, these 48,174 Units vested on December 31, 2007 (attached hereto as
17   Exhibit D).
18          36.    Upon information and belief, by July 2008, the value per Unit was set at
19   $26.25. Based on these numbers, the total value of Mr. Casani’s vested Units is
20   $1,264,567.50, as of September 19, 2008.
21          37.    Throughout his tenure with TEKsystems, Defendants, including but not
22   limited to, Stephen Bisciotti, Jim Davis, and Michael Salandra, consistently told Mr.
23   Casani that the incentive awards guaranteed to him under the IIP represented
24   compensation he had earned, as part of his total compensation package.
25          38.    Indeed, Defendants consistently represented to Mr. Casani that the IIP
26   money was a component of his overall compensation package with the Company.
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 1                   DEFENDANTS’ REFUSAL TO PAY MR. CASANI
                      HIS EARNED IIP AWARD COMPENSATION
 2
 3          39.    Under the IIP, and reflected in the IIP’s Award Agreements and
 4   statements, Mr. Casani is scheduled to receive $1,264,567.50 in IIP payments plus
 5   interest in the amount of $200.080.50, for a total of $1,464,655.50 in payments over
 6   approximately the next thirty (30) months.
 7          40.    Upon Mr. Casani’s departure from TEKsystems, he was informed that
 8   Faith Johnson, Vice-President of Human Resources for TEKsystems, would contact
 9   him regarding the package of documents that would need to be completed in order to
10   process his post-employment Unit payout, pursuant to the IIP.
11          41.    Ms. Johnson never contacted Mr. Casani and he never received the IIP
12   paperwork.
13          42.    Upon information and belief, Mr. Buckley, or an agent acting on his
14   behalf, placed a “hold” on Mr. Casani’s IIP paperwork pending his execution of
15   TEKsystems’ severance agreement.
16          43.    Mr. Casani’s first quarterly payout under the IIP was supposed to occur
17   on September 30, 2008 (i.e., the end of the first calendar quarter following his
18   employment separation).
19          44.    As of September 30, 2008, the due date of the first payment under the
20   IIP, Mr. Casani was in compliance with the terms and conditions of the IIP.
21          45.    Mr. Casani continues to be in compliance with the terms and conditions
22   of the IIP.
23          46.    Since his separation from TeKsystemson in September 19, 2008,
24   Defendants have not notified Mr. Casani of any disqualifying event or action under
25   the IIP.
26          47.    Defendants have presented no evidence to Mr. Casani that he violated
27   any term or condition of the IIP.
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 1         48.    Upon information and belief, Defendants were advised by skilled
 2   lawyers and other professionals, employees and advisors, knowledgeable about
 3   California labor and wage law, and employment and personnel practices.
 4         49.    Upon information and belief, Defendants knew or should have known
 5   that Mr. Casani is entitled to prompt payment of his owed IIP compensation, and that
 6   he has not received his first payment owed to him on September 30, 2008.
 7         50.    Upon information and belief, although Defendants knew they had a duty
 8   to compensate Mr. Casani and that they had the financial ability to pay such
 9   compensation, they willfully, knowingly, and intentionally failed to do so.
10                            COUNT I - DECLARATORY RELIEF
11         51.    Mr. Casani incorporates and realleges Paragraphs 1-50 of this Complaint
12   as though fully set forth herein.
13         52.    An actual controversy has arisen and now exists between Mr. Casani and
14   Defendants concerning their respective rights and duties under the IIP. Mr. Casani
15   contends that California law, specifically California Business and Professions Code
16   § 16600, et seq., applies to the IIP and the restrictive covenants contained therein, and
17   thus they are void and unenforceable. Defendants represented to Mr. Casani that the
18   restrictive covenants and forfeiture provisions in the IIP are enforceable and subject
19   to a Maryland choice of law provision.
20         53.    Mr. Casani seeks a binding determination on three critical issues: (1) a
21   declaration of his rights under the IIP and/or whether California law governs the
22   restrictive covenants and forfeiture provisions contained in the IIP; (2) assuming
23   California law applies to the IIP, a determination that those restrictive covenants and
24   forfeiture provisions are unlawful and void; and (3) a declaration that, assuming the
25   invalidity of the restrictive covenants and forfeiture provisions, Defendants are
26   obligated to make timely payments to Mr. Casani pursuant to the terms and
27   conditions of the IIP.
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 1         54.    The declaration is necessary and appropriate at this time under the
 2   circumstances in order that Mr. Casani may ascertain his legal rights and duties with
 3   regard to prospective employment, and whether such employment may be entered
 4   into without being subject to restrictive covenants.
 5                         COUNT II - BREACH OF CONTRACT
 6         55.    Mr. Casani incorporates and realleges Paragraphs 1-54 of this Complaint
 7   as though fully set forth herein.
 8         56.    The conduct of Defendants as alleged herein constitutes a breach of the
 9   terms of the valid Award Agreements executed by and between Mr. Casani and
10   Allegis, pursuant to and incorporating by reference the terms of the IIP.
11         57.    All conditions precedent necessary for the enforcement of the IIP and the
12   IIP’s Award Agreements have been met.
13         58.    Mr. Casani is damaged and will continued to be damaged as a result of
14   Defendants’ breach of the provisions of the IIP and the IIP’s Award Agreements.
15   COUNT III - VIOLATION OF CALIFORNIA LABOR CODE § 201, ET SEQ.
16         59.    Mr. Casani incorporates and realleges Paragraphs 1-58 of this Complaint
17   as though fully set forth herein.
18         60.    At all relevant times, Defendants were employers and were required to
19   comply with the provisions of the California Labor Code, including, but not limited
20   to, Section 201, et seq., which requires the prompt payment of wages.
21         61.    At all relevant times, Mr. Casani was an employee of Defendants, and
22   Defendants were required to pay Mr. Casani promptly for all wages earned.
23         62.    Mr. Casani earned the Units under the IIP in exchange for his fifteen
24   (15) years of service to Defendants.
25         63.     The vested IIP payments were part of the compensation for Mr.
26   Casani’s service, and thus these payments constitute wages under California Labor
27   Code § 201, et seq.
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 1             64.   Defendants’ failure to pay Mr. Casani his first IIP payment, due on
 2   September 30, 2008, constitutes a willful violation of California Labor Code § 201,
 3   et seq.
 4             65.   As a result of Defendants’ failure to comply with the California Labor
 5   Code, as described above, Mr. Casani has suffered a loss of compensation and
 6   damages in an amount according to proof.
 7             66.   As a result of Defendants’ failure to comply with the requirements of
 8   California Labor Code, as described above, Mr. Casani is entitled to recover
 9   penalties, including waiting time penalties, pursuant to California Labor Code Section
10   203.
11             67.   As a result of Defendants’ failure to comply with the requirements of
12   California Labor Code, as described above, Mr. Casani is entitled to recover his
13   attorneys’ fees and costs of suit, pursuant to California Labor Code Sections 218.5
14   and 2802(c), and/or other provisions of law.
15                       COUNT IV - UNFAIR BUSINESS PRACTICES
16             68.   Mr. Casani incorporates and realleges Paragraphs 1-67 of this Complaint
17   as though fully set forth herein.
18             69.   Defendants’ attempts to prevent Mr. Casani from engaging in his
19   profession in the IT staffing industry are oppressive, unlawful, and grossly
20   disproportionate to actions necessary to protect any legitimate business interest of
21   Defendants, and are unlawful under California Business and Professions Code
22   § 16600. Accordingly, such action violate California Business and Professions Code
23   §§ 17200, et seq.
24             70.   Moreover, as a California employee, Mr. Casani is entitled to avail
25   himself of the protections of California law, including California Business and
26   Professions Code §§ 16600 and 17200, and to engage in the lawful practice of his
27   profession, without interference.       Any attempt by Defendants to enforce the
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 1   restrictive covenants and forfeiture provisions in the IIP constitutes unfair
 2   competition.
 3          71.     Further, Defendants’ conduct alleged herein, including but not limited to
 4   their fraudulent activities regarding their IIP, constitutes fraudulent, unlawful and/or
 5   unfair business practices in violation of California Business and Professions Code §§
 6   17200 et seq.
 7                          COUNT V - PROMISSORY ESTOPPEL
 8          72.     Mr. Casani incorporates and realleges Paragraphs 1-71 of this Complaint
 9   as though fully set forth herein.
10          73.     Defendants promised Mr. Casani the vested IIP payments as part of the
11   compensation for his service and compliance with the IIP.
12          74.     Defendants had a reasonable expectation that their promise of IIP
13   payments would induce action and/or forbearance on Mr. Casani’s part.
14          75.     Mr. Casani did rely on Defendants’ promise by continuing to work at
15   TEKsystems for fifteen years, and by complying with the terms and conditions of the
16   IIP.
17          76.     Mr. Casani’s reliance on Defendants’ promise caused him a detriment
18   that can only be avoided by enforcement of the promise.
19                          COUNT VI - UNJUST ENRICHMENT
20          77.     Mr. Casani incorporates and realleges Paragraphs 1-76 of this Complaint
21   as though fully set forth herein.
22          78.     Mr. Casani conferred upon Defendants the benefit of his service at
23   TEKsystems and compliance with the terms and conditions of the IIP.
24          79.     Defendants had knowledge of this benefit of Mr. Casani’s service and
25   compliance with the IIP.
26          80.     Defendants’ acceptance of Mr. Casani’s service to TEKsystems and
27   Allegis made it inequitable for Defendants to retain this benefit without the payment
28   of its full value, including the IIP payments.
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